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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,

                        Plaintiffs,

                v.                                       No. 7:16-cv-00108

 ALEX M. AZAR II, Secretary
 of Health and Human Services, et al.,

                        Defendants.


                                        STATUS REPORT

       Pursuant to this Court’s August 16, 2017 Order, ECF No. 108, Defendants hereby

provide the following update on “rulemaking proceedings initiated with respect to the challenged

Rule.” ECF No. 108. See also 45 C.F.R. § 92 (the “Rule”). As previously described,

Defendants are reevaluating the reasonableness, necessity, and efficacy of the Rule that is

challenged in this case and, as part of that process, are assessing the issues identified by the

Court in granting Plaintiffs a preliminary injunction.

       Since the filing of the last status report, the Department of Health and Human Services

has submitted a draft of a proposed rule to the Office of Management and Budget (OMB) for

inter-agency clearance as required under Executive Order 12,866. As reflected on the website of

OMB’s Office of Information and Regulatory Affairs (OIRA), the proposed rule was submitted

under this clearance process on April 13, 2018. See

https://www.reginfo.gov/public/do/eoDetails?rrid=127999 (last visited April 16, 2018). The text

of the proposed rule will not be publicly available until after the E.O. 12,866 process is complete,

at which time it will be published in the Federal Register. Defendants will provide the Court,
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and the Plaintiffs, with the text of the proposed rule as soon as it has been published in the

Federal Register and is available to the public. Defendants anticipate that the proposed rule will,

upon publication, provide for a public comment period. The time required to complete the

notice-and-comment phase and to publish a final rule will depend, in part, on the scope of the

public comments received concerning the proposed rule.

       Defendants request an opportunity to continue reconsidering the Rule and do not request

that the Court close this case. Defendants will continue to abide by this Court’s preliminary

injunction and will therefore not enforce the Rule’s prohibition against discrimination on the

basis of gender identity or termination of pregnancy.

       Defendants therefore request that the Court maintain the stay in this case.

DATED: April 16, 2018

                                              CHAD A. READLER
                                              Acting Assistant Attorney General

                                              JENNIFER D. RICKETTS
                                              Director, Federal Programs Branch

                                              JOEL McELVAIN
                                              Assistant Director, Federal Programs Branch

                                              /s/ Rhett P. Martin   _____
                                              RHETT P. MARTIN
                                              ALEX HAAS
                                              U.S. Department of Justice
                                              Civil Division, Federal Programs Branch
                                              20 Massachusetts Ave. NW
                                              Washington, DC 20530
                                              phone: (202) 305-7538
                                              fax: (202) 616-8470
                                              email: rhett.martin@usdoj.gov

                                              Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 16, 2018, a copy of the foregoing Status Report was filed

electronically via the Court’s ECF System, which effects service upon counsel of record.


                                                    /s/ Rhett P. Martin_________
                                                    Rhett P. Martin
